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                            United States District Court
                                      for the
                            Southern District of Florida

   Lawrence C. Benson, Appellant,          )
                                           )
   v.                                      ) Case No. 18-cv-22031- Scola
                                           )
   United States of America, Appellee.     )


                  Order on Appeal of Magistrate Court Decision
        This matter comes before the Court upon an appeal from a judgment of
  the United States Magistrate Court for the Southern District of Florida following
  a non-jury trial against Lawrence Benson for the petty offense of simple assault.
  (ECF No. 12.) Magistrate Judge Patrick A. White entered judgment against
  Benson on May 16, 2018. (See ECF Nos. 1, 9). Benson filed a notice of appeal
  and subsequent brief in support. (ECF Nos. 1, 12.) After considering the briefs,
  the record, and the relevant legal authorities, the Court denies Benson’s appeal.
  (ECF No. 12.)

        1. Background
          On February 14, 2018, Officer Lopez was alerted to an altercation in the
  Veterans Affairs Hospital (“VA”) parking lot and identified Tanisha Murdaugh
  and Appellant Benson as the two individuals involved. (Trial Transcript of May
  16, 2018 Bench Trial at 5:1–11, ECF No. 7.) Both individuals provided Officer
  Lopez with their respective accounts of what had occurred. (Id. at 6:2–7:3.)
          Murdaugh testified that she went to the VA in order to check on a veteran
  that she was taking care of as part of her participation in community service. (Id.
  at 9:3–8.) When leaving the VA, Murdaugh attempted to back out of her parking
  space but Benson’s car was blocking her. (Id. at 10:1–6.) Murdaugh asked
  Benson to move his car, but Benson refused to do so, calling her a “stupid
  inconsiderate bitch.” (Id. at 10:6–11:1.) Murdaugh exited her car to look for help.
  (Id. at 11:3–6.) As Murdaugh tried to get back into her car, she saw that Benson
  had a can in his hand. According to Murdaugh, while she was backing away
  from Benson, he sprayed pepper spray in her face. (Id. at 11:7–13; 28:11–12.)
  Murdaugh approached Benson and grabbed a name tag from his shirt to later
  identify him. (Id. at 11:18–12:1.)
          Benson testified that he was trying to back into a parking space while
  Murdaugh was backing out of her parking space. (Id. at 28:24–25.) Benson
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  tapped his horn to alert Murdaugh that he was there but Murdaugh continued
  to back up. (Id. at 29:11–14.) Benson testified that Murdaugh almost hit his car
  and that he was unable to move. (Id. at 29:15–24.) Benson then proceeded to call
  Murdaugh an “inconsiderate bitch.” (Id. at 30:1–4.) Benson then stated that
  Murdaugh exited her vehicle and started to look for something in her car. (Id. at
  31:8–11.) Benson stated that he never saw a weapon but that Murdaugh came
  towards his vehicle in an aggressive manner. (Id. at 31:16–20.) According to
  Benson, it was at this point, before he used the pepper spray, that Murdaugh
  took his ID. (Id. at 32:12–15.) Benson next stated that Murdaugh again went to
  her verhicle to retrieve something, which Benson claimed was possibly a weapon,
  and again approached Benson’s car in an aggressive manner. (Id. at 33:13–23.)
  Benson then grabbed and used his pepper spray. (Id. at 34:14–20.) According to
  Benson, when Murdaugh saw the can of pepper spray, she turned away. (Id. at
  24:1–12; Id. at 34:21–25.) Benson claimed that he used the pepper spray
  because he was in fear. (Id. at 35:7–11.)
         Benson was subsequently charged by citation with disorderly conduct, in
  violation of 38 C.F.R. § 1.218(b)(11), the introduction of combustibles, in
  violation to 38 C.F.R. § 1.218(b)(38), and assault, pursuant to 18 U.S.C. §
  113(a)(5). (See ECF No. 13 at Ex. 1 (the government dismissed the introduction
  of combustibles prior to the bench trial.))
         On May 16, 2018, Benson proceeded to a bench trial before United States
  Magistrate Judge White, who found Benson guilty of simple assault and imposed
  a $350 fine. (ECF No. 7 at 43–45.) The court noted that in reaching its decision,
  it was taking into consideration the demeanor of Murdaugh and Benson. (Id. at
  43:9–11.) Specifically, the court found that Murdaugh appeared believable and
  not the kind of person that Benson had described. (Id. at 43:12–19.) On the other
  hand, the court noted Benson to be rude, aggressive, and inconsistent in his
  testimony. (Id. at 43:20–25.) The court found that Benson’s claim of self-defense
  was “extremely weak” and “inconsistent.” (Id. at 44:1–4.) The court also
  acknowledged the right to defend oneself but noted that there was no testimony
  that Murdaugh’s supposed actions were sufficiently aggressive or egregious. (Id.
  at 44:5-9.) The court stated that Benson’s claim of believing Murdaugh to have
  a weapon was probably made up to justify what he did. (Id. at 44:12–14). The
  court found Benson’s conduct “outrageous” and imposed a $350 fine. (Id. at
  44:14, 45:8.)
         Benson, acting pro se, now appeals this decision. (ECF No. 12.)
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        2. Legal Standards
         Jurisdiction in this matter is conferred by 18 U.S.C. § 3402, which gives a
  defendant convicted by a magistrate judge the right to appeal the judgment to a
  district judge.
         “Purely legal questions relating to a defendant’s claim of a constitutional
  violation are reviewed de novo.” U.S. v. Van De Walker, 141 F.3d 1451, 1452
  (11th Cir. 1998).
         In an appeal of a magistrate’s order or judgment in a petty offense or
  misdemeanor case, “the defendant is not entitled to a trial de novo by a district
  judge. The scope of the appeal is the same as in an appeal to the court of appeals
  from a judgment entered by a district judge.” Fed. R. Crim. P. 58(g)(2)(D).

              In assessing the sufficiency of the evidence supporting
              a criminal conviction, the standard of review is: It is not
              necessary that the evidence exclude every reasonable
              hypothesis of innocence or be wholly inconsistent with
              every conclusion except that of guilt, provided a
              reasonable trier of fact could find that the evidence
              establishes guilt beyond a reasonable doubt. A [trier of
              fact] is free to choose among reasonable constructions
              of the evidence.

  U.S. v. Muller, 698 F.2d 442, 444 (11th Cir. 1983) (internal quotation marks
  omitted).

        3. Analysis
         In Benson’s brief, he states five grounds for recovery. (ECF No. 12.)
  Grounds one, two, three, and five can be summarized as a challenge to the
  sufficiency of the evidence to support his conviction and Judge White’s rejection
  of Benson’s self-defense claim. (Id.) In ground four, Benson argues that his
  constitutional right to counsel has been violated. (Id. at 25–28.)
         Benson argues, specifically in ground four, that his constitutional rights
  were violated because he was not appointed counsel in connection with this case.
  (Id.) The Supreme Court has held that the “Sixth and Fourteenth Amendments
  to the United States Constitution require only that no indigent criminal
  defendant be sentenced to a term of imprisonment unless the State has afforded
  him the right to assistance of appointed counsel in his defense.” Scott v. Illinois,
  440 U.S. 367, 373–74 (1973). Benson concedes in his brief that Judge McAliley
  advised him prior to trial that no one would be receiving jail time. (ECF No. 12
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  at 26.) Indeed, Benson received no jail time because of his conviction.
  Accordingly, the Court finds that Benson was not entitled to the appointment of
  counsel. See Scott, 440 U.S. at 374; Fed. R. Crim. P. 58(b)(2)(C).
         Benson’s remaining arguments challenge the sufficiency of the evidence
  and Judge White’s rejection of Benson’s self- defense claim. The Court also finds
  these arguments are without merit.
         The evidence presented at trial satisfied the elements of the offense. To
  prove an assault under 18 U.S.C. § 113, the evidence must show that the
  defendant assaulted another person in the “special maritime and territorial
  jurisdiction of the United States.” U.S. v. Williams, 197 F.3d 1091, 1096 (11th
  Cir. 1999). An “assault” includes a battery or an attempted battery. Id. Here, the
  evidence established that Benson committed a battery on Murdaugh by
  attacking her with pepper spray. Further, this incident occurred in the VA
  hospital’s parking lot, which is within the territorial jurisdiction of the United
  States. See U.S. v. Styles, 75 F. App’x 934, 935 (5th Cir. 2003) (noting that VA
  hospitals are within the special maritime or territorial jurisdiction of the United
  States).
         Judge White, acting as the finder of fact, determined that Murdaugh’s
  testimony was credible and Benson’s was not, and explicitly considered but
  rejected Benson’s testimony that he used the pepper spray in self-defense. (ECF
  No. 7 at 43–45.) On appeal, this Court must view the evidence in the light most
  favorable to the government and accept all credibility determinations in favor of
  the verdict. See U.S. v. Simpson, 228 F.3d 1294, 1299 (11th Cir. 2000). The Court
  finds that Judge White’s verdict is supported by the evidence and that a
  reasonable trier of fact could find that the evidence establishes guilt beyond a
  reasonable doubt. The fact that Benson disagrees with Judge White’s findings of
  fact and credibility determinations is not a basis for reversal.

        4. Conclusion
        Accordingly, the Court affirms Judge White’s decision. (ECF No. 12.) The
  Clerk is directed to close this case.
        Done and ordered, at Miami, Florida, on April 15, 2019.



                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
